      Case 23-10154-mdc                     Doc 18 Filed 05/21/23 Entered 05/22/23 00:33:33                                              Desc Imaged
                                                 Certificate of Notice Page 1 of 5
                                                              United States Bankruptcy Court
                                                              Eastern District of Pennsylvania
In re:                                                                                                                 Case No. 23-10154-mdc
Gary Seth Koppelman                                                                                                    Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0313-2                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: May 19, 2023                                               Form ID: 318                                                              Total Noticed: 39
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on May 21, 2023:
Recip ID                   Recipient Name and Address
db                     +   Gary Seth Koppelman, 1500 Chestnut Street, Suite 2-2505, Philadelphia, PA 19102-2737
14749740               +   Capital Bank N.A., 2275 Research Blvd. Ste 600, Rockville, MD 20850-6238
14749748               +   Equiant/Thousand Trails, Attn: Bankruptcy, 500 N Juniper Dr, Ste 100, Chandler, AZ 85226-2525
14749758               +   LTD Financial Services, 3200 Wilcrest Suite 600, Houston, TX 77042-6000
14749762               +   PGW, 1800 North 9th Street, Philadelphia, PA 19122-2021
14749765              #+   SRA Associates, 112 W. PArk Dr., Suite 200, Mount Laurel, NJ 08054-1261

TOTAL: 6

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
smg                        Email/Text: megan.harper@phila.gov
                                                                                        May 19 2023 23:45:00      City of Philadelphia, City of Philadelphia Law
                                                                                                                  Dept., Tax Unit/Bankruptcy Dept, 1515 Arch
                                                                                                                  Street 15th Floor, Philadelphia, PA 19102-1595
smg                        EDI: PENNDEPTREV
                                                                                        May 20 2023 03:41:00      Pennsylvania Department of Revenue, Bankruptcy
                                                                                                                  Division, P.O. Box 280946, Harrisburg, PA
                                                                                                                  17128-0946
smg                        Email/Text: RVSVCBICNOTICE1@state.pa.us
                                                                                        May 19 2023 23:45:00      Pennsylvania Department of Revenue, Bankruptcy
                                                                                                                  Division, P.O. Box 280946, Harrisburg, PA
                                                                                                                  17128-0946
14749735               + Email/Text: backoffice@affirm.com
                                                                                        May 19 2023 23:45:00      Affirm, Inc., Attn: Bankruptcy, 30 Isabella St,
                                                                                                                  Floor 4, Pittsburgh, PA 15212-5862
14749737               + Email/Text: Atlanticus@ebn.phinsolutions.com
                                                                                        May 19 2023 23:45:00      Aspire Credit Card, Attn: Bankruptcy, Po Box
                                                                                                                  105555, Atlanta, GA 30348-5555
14749739               + Email/Text: bk@avant.com
                                                                                        May 19 2023 23:45:00      Avant/WebBank, 222 North Lasalle Street, Suite
                                                                                                                  1600, Chicago, IL 60601-1112
14749744                   Email/Text: cfcbackoffice@contfinco.com
                                                                                        May 19 2023 23:45:00      Continental Finance Co, Attn: Bankruptcy, 4550
                                                                                                                  Linden Hill Rd, Ste 4, Wilmington, DE 19808
14749745                   Email/Text: cfcbackoffice@contfinco.com
                                                                                        May 19 2023 23:45:00      Continental Finance Company, Attn: Bankruptcy,
                                                                                                                  Po Box 8099, Newark, DE 19714
14749741               + EDI: CITICORP.COM
                                                                                        May 20 2023 03:41:00      Citibank/The Home Depot, Citicorp Credit
                                                                                                                  Srvs/Centralized Bk dept, Po Box 790034, St
                                                                                                                  Louis, MO 63179-0034
14749742               + EDI: WFNNB.COM
                                                                                        May 20 2023 03:41:00      Comenity Bank/Kingsize, Attn: Bankruptcy, Po
                                                                                                                  Box 182273, Columbus, OH 43218-2273
14749743               + EDI: WFNNB.COM
                                                                                        May 20 2023 03:41:00      Comenity Bank/Victoria Secret, Attn: Bankruptcy,
                                                                                                                  Po Box 182125, Columbus, OH 43218-2125
14749746               + Email/PDF: creditonebknotifications@resurgent.com
                                                                                        May 19 2023 23:52:16      Credit One Bank, Attn: Bankruptcy Department,
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Date Rcvd: May 19, 2023                                     Form ID: 318                                                      Total Noticed: 39
                                                                                                  Po Box 98873, Las Vegas, NV 89193-8873
14749748        ^ MEBN
                                                                           May 19 2023 23:40:11   Equiant/Thousand Trails, Attn: Bankruptcy, 500 N
                                                                                                  Juniper Dr, Ste 100, Chandler, AZ 85226-2525
14749752          Email/Text: BNSFN@capitalsvcs.com
                                                                           May 19 2023 23:45:00   First National Bank/Legacy, Attn: Bankruptcy, Po
                                                                                                  Box 5097, Sioux Falls, SD 57117
14749755          Email/Text: BNSTAZ@capitalsvcs.com
                                                                           May 19 2023 23:45:00   Fnbo/ccs, Attn: Bankruptcy, Po Box 5081, Sioux
                                                                                                  Falls, SD 57117
14749770          Email/Text: BNSTAZ@capitalsvcs.com
                                                                           May 19 2023 23:45:00   TAZ Visa, PO Box 5081, Sioux Falls, SD
                                                                                                  57117-5081
14749754          Email/Text: BNSFS@capitalsvcs.com
                                                                           May 19 2023 23:45:00   First Savings Bank, Attn: Bankruptcy, P.O. Box
                                                                                                  5019, Sioux Falls, SD 57117
14749749        + EDI: BLUESTEM
                                                                           May 20 2023 03:41:00   Fingerhut, Attn: Bankruptcy, 6250 Ridgewood
                                                                                                  Road, Saint Cloud, MN 56303-0820
14749751        ^ MEBN
                                                                           May 19 2023 23:40:04   First Digital Card, Attn: Bankruptcy, Po Box
                                                                                                  85650, Sioux Falls, SD 57118-5650
14749753        + EDI: AMINFOFP.COM
                                                                           May 20 2023 03:41:00   First Premier Bank, Attn: Bankruptcy, Po Box
                                                                                                  5524, Sioux Falls, SD 57117-5524
14749756        + EDI: PHINGENESIS
                                                                           May 20 2023 03:41:00   Genesis FS Card Services, Attn: Bankruptcy, Po
                                                                                                  Box 4477, Beaverton, OR 97076-4401
14749747          EDI: IRS.COM
                                                                           May 20 2023 03:41:00   Department of Treasury, Internal Revenue Service,
                                                                                                  Philadelphia, PA 19255
14749759          Email/Text: ml-ebn@missionlane.com
                                                                           May 19 2023 23:45:00   Mission Lane LLC, Attn: Bankruptcy, P.O. Box
                                                                                                  105286, Atlanta, GA 30348
14749761          Email/Text: bankruptcies@penncredit.com
                                                                           May 19 2023 23:45:00   PennCredit Corporation, 2800 Commerce Drive,
                                                                                                  Harrisburg, PA 17110
14749760        + Email/Text: bankruptcygroup@peco-energy.com
                                                                           May 19 2023 23:45:00   Peco, 2301 Market Street, Philadelphia, PA
                                                                                                  19103-1380
14749763          Email/Text: joey@rmscollect.com
                                                                           May 19 2023 23:45:00   Receivable Management Inc, 7206 Hull Road,
                                                                                                  Suite 211, Richmond, VA 23235
14749764        + Email/Text: clientservices@remexinc.com
                                                                           May 19 2023 23:45:00   Remex Inc, Attn: Bankruptcy, 307 Wall Street,
                                                                                                  Princeton, NJ 08540-1515
14749738          Email/Text: bankruptcy@self.inc
                                                                           May 19 2023 23:45:00   Atlantic Capital Bank, Attn: Bankruptcy, 945 East
                                                                                                  Paces Ferry Road, 16th Floor, Atlanta, GA 30326
14749766        + Email/Text: bankruptcy@sw-credit.com
                                                                           May 19 2023 23:45:00   SWC Group, 4120 International Parkway #100,
                                                                                                  Carrollton, TX 75007-1957
14749767        + EDI: RMSC.COM
                                                                           May 20 2023 03:41:00   Syncb/Harbor Freight, Attn: Bankruptcy, Po Box
                                                                                                  965060, Orlando, FL 32896-5060
14749768        + EDI: RMSC.COM
                                                                           May 20 2023 03:41:00   Synchrony Bank/Gap, Attn: Bankruptcy, Po Box
                                                                                                  965060, Orlando, FL 32896-5060
14749769        + EDI: RMSC.COM
                                                                           May 20 2023 03:41:00   Synchrony Bank/Lowes, Attn: Bankruptcy, Po
                                                                                                  Box 965060, Orlando, FL 32896-5060
14749772          EDI: TDBANKNORTH.COM
                                                                           May 20 2023 03:41:00   TD Bank, N.A., Attn: Bankruptcy, 32 Chestnut
                                                                                                  Street Po Box 1377, Lewiston, ME 04243
14749773        + EDI: TCISOLUTIONS.COM
                                                                           May 20 2023 03:41:00   Total Visa/The Bank of Missouri, Attn:
                                                                                                  Bankruptcy, Po Box 85710, Sioux Falls, SD
                                                                                                  57118-5710
14749774        ^ MEBN
                                                                           May 19 2023 23:40:06   Velocity Investments, Llc, Attn: Bankruptcy, 1800
                                                                                                  Route 34n, Suite 305, Wall, NJ 07719-9146

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                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
14749771                       Tbom/vt
14749736         *+            Affirm, Inc., Attn: Bankruptcy, 30 Isabella St, Floor 4, Pittsburgh, PA 15212-5862
14749750         *+            Fingerhut, Attn: Bankruptcy, 6250 Ridgewood Road, Saint Cloud, MN 56303-0820
14749757         *+            Genesis FS Card Services, Attn: Bankruptcy, Po Box 4477, Beaverton, OR 97076-4401

TOTAL: 1 Undeliverable, 3 Duplicate, 0 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: May 21, 2023                                        Signature:           /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on May 18, 2023 at the address(es) listed below:
Name                             Email Address
CHRISTINE C. SHUBERT
                                 christine.shubert@comcast.net J100@ecfcbis.com

ERIK B. JENSEN
                                 on behalf of Debtor Gary Seth Koppelman erik@jensenbagnatolaw.com
                                 jordan@jensenbagnatolaw.com;jennifer@jensenbagnatolaw.com;mjmecf@gmail.com;jensener79956@notify.bestcase.com

United States Trustee
                                 USTPRegion03.PH.ECF@usdoj.gov


TOTAL: 3
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Information to identify the case:
Debtor 1
                       Gary Seth Koppelman                                          Social Security number or ITIN   xxx−xx−9875
                                                                                    EIN _ _−_ _ _ _ _ _ _
                       First Name   Middle Name    Last Name

Debtor 2                                                                            Social Security number or ITIN _ _ _ _
                       First Name     Middle Name      Last Name
(Spouse, if filing)                                                                 EIN _ _−_ _ _ _ _ _ _

United States Bankruptcy Court       Eastern District of Pennsylvania

Case number:          23−10154−mdc

Order of Discharge                                                                                                                 12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

             Gary Seth Koppelman


             5/18/23                                                        By the court: Magdeline D. Coleman
                                                                                          United States Bankruptcy Judge


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                             This order does not prevent debtors from paying
and it does not determine how much money, if                               any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                       debts according to the reaffirmation agreement.
                                                                           11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                  Most debts are discharged
attempt to collect a discharged debt from the                              Most debts are covered by the discharge, but not
debtors personally. For example, creditors                                 all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                            personal liability for debts owed before the
or otherwise try to collect from the debtors                               debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                           Also, if this case began under a different chapter
in any attempt to collect the debt personally.                             of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                           to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                                are discharged.

However, a creditor with a lien may enforce a                              In a case involving community property: Special
claim against the debtors' property subject to that                        rules protect certain community property owned
lien unless the lien was avoided or eliminated.                            by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                              not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                        For more information, see page 2 >




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Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




Official Form 318                             Order of Discharge                           page 2
